Case 1:15-cv-05871-KPF Document9 Filed 12/28/15 Page 1of 8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 
 
 

~x

KELLY PRICE
Index No.: __15-CV-05871
PLAINTIFF JURY TRIAL DEMANDED
-against-

DETECTIVE LINDA SIMMONS Individually,
and as an employee of the New York City Police
Department, ADA MARIA STROHBEHN and oe
ADA KENYA WELLS Individually, | (USDC SDNY |
and as employees of the New York County \ OCUMENT
District Attorney’s Office, THE CITY OF NEW YORK, \\ D arene - ALLY FILED
Deputy DA Audrey Moore, ADA Larry Newman, ADA \\ ELEC] RONICAL
Laura Higgins nee Richendorfer, ADA Christina | DOC #: So
Maloney, ADA Patricia Bailey, ADA Susan Roque and | (ies Ny y di
DA Cyrus Vance Jr., as employees of the New York DATE FILED: _ _ le) rae

County District Attorney’s Office, Inspector Obe of ‘
the New York City Police Department, in her capacity

as an employee of the New York City Police Department,

Rose Pierre-Louis in her capacity as the Commissioner

of Domestic Violence of the City of New York,

DEFENDANTS,

 

Request for More Time to Amend Complaint
as Ordered by Hon. Loretta A. Preska

December 23, 2015
Dear Hon. Preska:

By order Posted to me on October, 23, 2015 (Exhibit #3) you requested that I amend my
complaint for the sbovedioted docket. In your order you instructed me to only include causes of action
that fall after August 13, 2012 as this was the date that I filed an Amended Complaint with the Pro Se
office, SDNY at 500 Pearl Street. 1 filed my original Federal complaint on July 24, 2015 (Exhibit #1). J

filed a revised complaint as I found issues with my exhibits and I wanted to refile a better-organized
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document with the court and also to include two parties which were omitted in error as defendants in my
original complaint. You will note the Time Stamps attached as exhibits to this request reflecting the
filing of the original Federal Complaint on 7/24/2015 (Exhibit #1) and the amended one on 8/13/2015

(Exhibit #2).

1 am a Pro Se litigant and learning as | go so please forgive my mis-step. | understand the FRCP
“Relation back Amendment” ALLOWS For an amendment to a pleading to relate back to the date of the

original pleading when:
(A) the law that provides the applicable statute of limitations allows relation back;

(B) the amendment asserts a claim or defense that arose out of the conduct, transaction, or

occurrence set out—or attempted to be set out—in the original pleading; or

(C) the amendment changes the party or the naming of the party against whom a claim is asserted,
if Rule 15(c)(1)(B) is satisfied and if, within the period provided by Rule 4(m) for serving the

summons and complaint, the party to be brought in by amendment.

I would have served my complaint on the defendants had I not requested POOR PERSON status from the
court. If] was not entitled to file an amended pleading on August 13, 2015 then please consider my

initial filing on August 24, 2015.

With this information as background | would like to respectfully and humbly request from the
court feedback on the portions of my complaint not commented on in your “Order to Amend” as my
original filing was within the three-year statute of limitations. I am actively pursuing representation for
my case and was planning on requesting Pro Bono Counsel from the court to assist me in articulating this

very complicated and layered constitutional matter to your Honor.

On December 18, 2015 ] received an affidavit from a Retired NYPD Lieutenant (Exhibit #4)

asserting that the procedures and methods employed in taking and reviewing complaints of abuse, sexual
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conscription and trafficking that I made were handled differently than those of any other survivor because
of the status my abuser enjoyed as a Confidential Informant/major case complaintant for the
MDAO/NYPD. With this bombshell evidence in-hand I have been actively in discussions with a number
of skilled and knowledgeable Civil Rights lawyers here in NYC whom are seriously considering taking

my case (Exhibit #5) and the accompanying class action on.

I would like to request a furtherance of deadline for turning in an amended complaint. Ideally I
would appreciate 90 days but even 30 days would suffice if your Honor’s patience has already been
tested. If you decide that I am not to be allowed more time to re-write I am happy to turn-in the revised
complaint that I have drafted myself without legal assistance. | took into consideration your stewardship
onpassed to me in your kind “Order to Amend” but feel that even if you accept this that it is HIGHLY
likely that I will find representation in the coming weeks and that any new legal representative on my case
will request permission to Amend the complaint to make sure that my pleadings are correct. I’m trying to
avoid un-necessary and redundant work incurred by you and your clerk/court part staff. Please accept my
MEA CULPAS for any inconvenience, hassle, or disturbance this request causes you or your court staff.

Thank you so much for taking the time to allow me to re-write my complaint.
Yours,

Kelly Price

Date: LOSS a 15

Sworn to before me on this 23rd day of December, 2015

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Nofr'y Public
JONATHAN D. COHEN
NOTARY PUBLIC, State of New York
No. 02006012493
Qualified in Kings
Commission Expire:

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Case 1:15-cv-05871-LAP Document 2 Filed 07/24/15 Page 1 of 52

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

KELLY PRICE

Index No.:
PLAINTIFF
-against-

DETECTIVE LINDA SIMMONS Individually,

and as an employee of the New York City Police
Department, MARIA STROHBEHN and

KENYA WELLS Individually,

and as an employee of the New York County

District Attorney’s Office, THE CITY OF NEW YORK,
Audrey Moore, Larry Newman, Laura Higgens

nee Richendorfer, Christina Maloney, Cyrus Vance Jr.,
Audrey Moore as employees of the New York County
District Attorney’s Office, Inspector Obe of the New
York City Police Department, in her capacity as an
employee of the New York City Police Department,
Rose Pierre-Louis in her capacity as the Commissioner
of Domestic Violence of the City of New York,

DEFENDANTS,

 

 

COMPLAINT

 

Kelly Price

Pro Se

534 w 187" st. apt #7
New York, NY 10033
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UNITED STATES DISTRICT COURT
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KELLY PRICE

PLAINTIFF
-against-

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Deputy DA Audrey Moore, ADA Larry Newman, ADA
Laura Higgins nee Richendorfer, ADA Christina
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DA Cyrus Vance Jr., as employees of the New York
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JURY TRIAL DEMANDED

 

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DOCUMENT

 

 

AMENDED COMPLAINT

 

Kelly Price

Pro Se

534 w 187" si. apt #7
New York, NY 10033

 

 

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UNITED STATES ‘DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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500 PEARL STREET - NEW YORK, NY 10007-1312
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Kelly Price
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Apt. #7

New York, NY 10033

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Xn vq

From: Jane Byrialsen [mailto:jane@fblaw.org]

Sent: Wednesday, December 23, 2015 10:54 AM

To: Grace Price [gprice@urbanjustice.org]

Subject: Re: Kelly Grace Price v Cyrus Vance Jr., the City of NY, et al referred by Susan Kellerman

Grace,

Thank you for getting all this to us. Due to the holidays no one is available to review this before
your filing deadline. There will be attorneys who can review it in January. Until someone has
review these documents we cannot make a determination in regards to representation, so if you
want to request more time you should do that and expect to hear back from us in the New

Year. Otherwise you can file the amended complaint and we can still consider taking the case
after that, however, it is preferable to us in regards to our decision on whether or not to assist you
if you do not file as that would allow us an opportunity to make sure the complaint is properly
plead, as you will most likely have a hard time getting permission to further amend it once it is
filed.

Best,

Jane

Jane Fisher-Byrialsen, Esq.
Fisher & Byrialsen, PLLC
99 Park Avenue, PH Floor
New York, New York 10016
T: (212) 962-0848

C: (202) 256-5664

PLEASE NOTE MY NEW EMAIL ADDRESS

This message and its attachments are sent by a law office and may contain information that is
confidential and protected by privilege from disclosure. If you are not the intended recipient, you
are prohibited from printing, copying, forwarding, or saving this email and any attachments.
Please notify the sender immediately if you believe that you are not the intended recipient.
